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                                             UNITED STATES DISTRICT COURT
                                             EASTERN DISTRICT OF MISSOURI

Jessica Langford                                           )
                                         ,                 )
                                                           )
                            Plaintiff,                     )
                                                           )
           v.                                              )   Case No.   18-2037
City of St. Louis,                                         )
Missouri                                 ,                 )
                                                           )
                            Defendant,                     )
                                                           )

                                                ORIGINAL FILING FORM

   THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
   WHEN INITIATING A NEW CASE.


           THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

   PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

   AND ASSIGNED TO THE HONORABLE JUDGE                                                   .


           THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

   PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS                                            AND

   THAT CASE WAS ASSIGNED TO THE HONORABLE                                               . THIS CASE MAY,

   THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.


           NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

   COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

   MAY BE OPENED AS AN ORIGINAL PROCEEDING.



   The undersigned affirms that the information provided above is true and correct.



   Date: 12/06/2018                                    /s/ Anthony E. Rothert
                                                             Signature of Filing Party
